BRYAN SCHRODER
United States Attorney

MARIE C. SCHEPERLE
SETH M. BEAUSANG
Assistant U.S. Attorneys
Federal Building & U.S. Courthouse
222 West Seventh Avenue, #9, Room 253
Anchorage, Alaska 99513-7567
Phone: (907) 271-5071
Fax: (907) 271-2344
Email: Marie.Scheperle@usdoj.gov
Email: Seth.Beausang@usdoj.gov

Attorneys for Defendant United States


               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF ALASKA

 ANDREA LAURIA,                      )   Case No. 3:20-cv-00210-SLG
                                     )
                   Plaintiff,        )
                                     )   UNITED STATES’ MOTION TO
       vs.                           )   DISMISS FOR LACK OF
                                     )   SUBJECT MATTER
 UNITED STATES and CHRIS             )   JURISDICTION
 HEITSTUMAN,                         )
                                     )
                   Defendants.       )
                                     )
                                     )

     The Second Amended Complaint [Dkt. 15] contains claims against the

United States pursuant to the Federal Tort Claims Act (“FTCA”), and state law




       Case 3:20-cv-00210-SLG Document 17 Filed 11/16/20 Page 1 of 16
tort claims against Chris Heitstuman, a former United States Department of

Homeland Security (“DHS") law enforcement officer. The FTCA claims allege

that Heitstuman committed various intentional torts while acting within the

scope of his office or employment as a federal law enforcement officer, that the

United States negligently failed to supervise Heitstuman, negligent infliction

of emotional distress, and an aided-in-agency theory of liability against the

United States. The state law tort claims against Heitstuman allege that he

committed intentional torts when he sexually assaulted, harassed, and stalked

Plaintiff in violation of a state criminal statute, AS 11.41.260(a)(4), and caused

Plaintiff fear and emotional distress.

      The Court should dismiss the FTCA claims against the United States.

The Court does not have jurisdiction over the intentional tort claims against

the United States based on the actions of Heitstuman, because Plaintiff’s

allegations show Heitstuman was acting outside the scope of his employment

when he engaged in the conduct alleged in the complaint.

      The Court does not have jurisdiction over Plaintiff’s negligence claims

against the United States because she did not present a negligence claim to

the appropriate agency before bringing those claims, as required by the FTCA.

      Finally, the Court does not have jurisdiction over claims against the

United States based on an aided-in-agency theory of tort liability, because
Lauria v. United States Dep’t of Homeland Security, et al.
Case No. 3:20-cv-00210-SLG          2


       Case 3:20-cv-00210-SLG Document 17 Filed 11/16/20 Page 2 of 16
liability under that theory is premised on an employee acting outside the scope

of their employment, while jurisdiction under the FTCA is only available for

tort claims based on the conduct of a federal employee acting within the scope

of his office or employment.

      For these reasons, the Court should dismiss Plaintiff’s FTCA claims

against the United States.

                               Statement of Facts 1

      In 2017, Plaintiff Andrea Lauria was working as Head of Security for the

Anchorage Museum. Dkt. 15 ¶ 7. On the morning of September 12, 2017,

Plaintiff contacted law enforcement and reported an intoxicated woman

causing a disturbance outside the museum. Id. ¶ 8. Plaintiff waited outside for

Anchorage police to arrive. Id. A law enforcement vehicle drove by and stopped.

Id. The person inside was not an Anchorage Police Department officer, but

instead Homeland Security Officer Chris Heitstuman. Id.

      Heitstuman was in uniform, approached Plaintiff, and gave the

impression that he was responding to the scene. Id. ¶ 9. Anchorage police




1 Except where indicated, the facts are taken from the Second Amended
Complaint, and the facts in the complaint are assumed true only for purposes
of this motion.
Lauria v. United States Dep’t of Homeland Security, et al.
Case No. 3:20-cv-00210-SLG          3


       Case 3:20-cv-00210-SLG Document 17 Filed 11/16/20 Page 3 of 16
officers subsequently arrived and arrested the woman who caused the

disturbance. Id.

      Heitstuman requested video footage of the incident from Plaintiff

purportedly as part of his investigation of the incident. Id. ¶ 10. Plaintiff

explained that it would take a while to download, and Heitstuman said she

should contact him later that day when it was ready. Id.

      Later that day, Heitstuman returned to the museum ostensibly to collect

the footage. Id. ¶ 11. At the museum, he told Plaintiff he wanted to watch the

footage there. Id. Plaintiff explained they did not have equipment to watch it

in the control booth. Id. Heitstuman and Plaintiff then went to Plaintiff’s office

to watch the footage on her computer. Id.

      According to Plaintiff, Heitstuman sexually assaulted her in her office.

Id. ¶ 12. Heitstuman then sexually harassed Plaintiff over the following days.

Id. ¶ 13. On September 19, Heitstuman returned to Plaintiff’s office and raped

her. Id. ¶ 14. He then continued to harass her through October 2017. Id. ¶ 15.

Ultimately, Plaintiff contacted the police and obtained a protective order in

state court against Heitstuman. Id.

      Plaintiff alleges, “[u]pon information and belief, the discovery process

will show that the United States of America had received prior complaints that

Mr. Heitstuman acted in a sexually inappropriate manner toward members of
Lauria v. United States Dep’t of Homeland Security, et al.
Case No. 3:20-cv-00210-SLG          4


       Case 3:20-cv-00210-SLG Document 17 Filed 11/16/20 Page 4 of 16
the public,” and that Plaintiff “was subjected to repeated assaults, stalking,

and harassment” because “the United States of America failed to address these

complaints and discipline and/or terminate Mr. Heitstuman.” Id. ¶ 17. Plaintiff

further alleges that she “suffered physical injury, pain, and ongoing extreme

emotional distress” as a direct and proximate result of the alleged tortious

conduct. Id. ¶ 16.

      On September 4, 2019, DHS received a FTCA administrative claim for

damages from Plaintiff. Ex. A. 2 In the part of the claim form that directed

Plaintiff to state the nature and extent of each injury, Plaintiff responded that

she “suffered physical pain and continues to suffer extreme emotional harm

due to the intentional acts of DHS officer Chris Heitstuman.” Id. at 3. She did

not allege that DHS had been negligent. She attached to the form a four-page

pleading-style document that largely mirrors the parts of her Second Amended

Complaint that allege that Heitstuman committed intentional torts, but omits

the parts of her complaint that allege that the United States or any person

committed negligence. Id. at 5-9. She also attached a copy of a newspaper

article about the incident, which states that a woman outside the museum



2 The claim was purportedly mailed on August 28. Ex. A. A claim is deemed
presented when it is received, but whether the claim in this case was presented
in August or September is immaterial.
Lauria v. United States Dep’t of Homeland Security, et al.
Case No. 3:20-cv-00210-SLG          5


       Case 3:20-cv-00210-SLG Document 17 Filed 11/16/20 Page 5 of 16
made threats, including bomb threats, that the police responded and subdued

the woman, that no explosives were found, and that the woman was arrested.

Id. at 9. No part of Plaintiff’s administrative claim alleged negligence on the

part of the United States or any person.

                                   Argument

I.    Standards of review.

      Plaintiff bears the burden of persuading the Court that it has subject

matter jurisdiction under the FTCA’s general waiver of immunity. See Prescott

v. United States, 973 F.2d 696, 701 (9th Cir. 1992).

      On a motion to dismiss for lack of subject matter jurisdiction, the Court

is generally “not restricted to the face of the pleadings, but may review any

evidence, such as affidavits and testimony, to resolve factual disputes

concerning the existence of jurisdiction.” McCarthy v. United States, 850 F.2d

558, 560 (9th Cir. 1988).

      Concerning the scope-of-employment issue, where, as here, “the

jurisdictional issue and substantive claims are so intertwined that resolution

of the jurisdictional question is dependent on factual issues going to the merits,

the district court should employ the standard applicable to a motion for

summary judgment.” Autery v. United States, 424 F.3d 944, 956 (9th Cir. 2005).

Under a summary judgment standard, the Court should grant the United
Lauria v. United States Dep’t of Homeland Security, et al.
Case No. 3:20-cv-00210-SLG          6


       Case 3:20-cv-00210-SLG Document 17 Filed 11/16/20 Page 6 of 16
States’ motion if there is no genuine issue as to any material fact and the

United States is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c);

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986).

      Concerning the exhaustion issue, Plaintiff bears the burden of

establishing jurisdiction under the FTCA and must affirmatively allege

compliance with the FTCA’s administrative exhaustion requirement. Gillespie

v. Civiletti, 629 F.2d 637, 640 (9th Cir. 1980). The Court is not bound by

Plaintiff’s conclusory allegations if the evidence shows that Plaintiff failed to

exhaust any of her claims. McCarthy, 850 F.2d at 560; Knight v. U.S. Postal

Serv., No. CIV. 06-1318-TC, 2007 WL 2733820, at *2 (D. Or. Sept. 12, 2007).

      As with any waiver of sovereign immunity, the FTCA’s waiver must be

strictly construed in favor of the United States. See United States v. Nordic

Vill. Inc., 503 U.S. 30, 33-34 (1992). Questions of FTCA immunity, including

whether the complaint alleges acts within the scope of the office or employment

of a federal employee, should be decided at an early stage of the litigation

unless disputed issues of fact exist relevant to immunity. See, e.g., Arthur v.

United States, 45 F.3d 292, 295 (9th Cir. 1995).

II.   The Court does not have jurisdiction over Plaintiff’s FTCA
      claims based on the intentional torts by Heitstuman because the
      conduct alleged in the complaint involves acts outside the scope
      of Heitstuman’s employment.

Lauria v. United States Dep’t of Homeland Security, et al.
Case No. 3:20-cv-00210-SLG          7


       Case 3:20-cv-00210-SLG Document 17 Filed 11/16/20 Page 7 of 16
      The Court does not have jurisdiction over intentional tort claims against

the United States, based on the actions of Heitstuman, because Plaintiff’s

allegations show Heitstuman was acting outside the scope of his employment

when he sexually assaulted, harassed, and stalked Plaintiff.

      The FTCA only applies to claims based on the conduct of a federal

employee “acting within the scope of his office or employment.” Mendenhall v.

United States, No. 3:20-cv-00156-SLG, 2020 WL 5219531, at *2 (D. Alaska

Sept. 1, 2020) (quoting 28 U.S.C. § 1346(b)). There is no jurisdiction under the

FTCA for tort claims premised on a federal employee’s acts outside the scope

of his employment. Id.

      “FTCA scope of employment determinations are made ‘according to the

principles of respondeat superior of the state in which the alleged tort

occurred.’ ” Id. at *3 (quoting Wilson v. Drake, 87 F.3d 1073, 1076 (9th Cir.

1996)). Under Alaska law, “[t]he scope of employment is a fact specific inquiry

for the jury unless the facts are undisputed or lend themselves to only one

conclusion.” Id. (quoting Lane v. City of Juneau, 421 P.3d 83, 94 (Alaska 2018)).

Relevant factors include whether the employee “(1) performs the kind of work

the employee was hired to perform, (2) acts within the employer’s ‘authorized

time and space limits,’ and (3) acts in order to further the employer’s interests.”

Id. The Alaska Supreme Court has “noted that even crimes and intentional
Lauria v. United States Dep’t of Homeland Security, et al.
Case No. 3:20-cv-00210-SLG          8


       Case 3:20-cv-00210-SLG Document 17 Filed 11/16/20 Page 8 of 16
torts may be within the scope of employment if they serve the employer’s

interests[.]” Id.

      However, this Court and the Alaska Supreme Court have emphasized

that an “employee is not acting within the scope of employment unless his

actions are ‘actuated, at least in part, by a purpose to serve the master.’ ”

D.W.J. v. Wausau Bus. Ins. Co., 192 F. Supp. 3d 1014, 1020 (D. Alaska 2016)

(quoting VECO, Inc. v. Rosebrock, 970 P.2d 906, 924 n. 36 (Alaska 1999)). The

Alaska Supreme Court has concluded that “imposing vicarious liability under

a scope of employment theory absent at least a partial purpose on the part of

the employee to serve the employer seems unjustified.” Id. at 1020. “Under

Rosebrock, an employee must be acting at least in part with a purpose to serve

the master, and an employee perpetrating a sexual assault cannot do such.”

Id.

      Addressing the third factor first, which the Alaska Supreme Court has

found to be determinative, Plaintiff fails to allege facts showing that

Heitstuman was acting in order to further the government’s interests. The

Court need look no further than the Second Amended Complaint to conclude

that Heitstuman’s alleged intentional torts were outside the scope of his

employment.         Those   intentional   torts   involve   sexual   assault,   sexual

harassment, and stalking. Dkt. 15 ¶¶ 18-44. As a matter of law, those kinds of
Lauria v. United States Dep’t of Homeland Security, et al.
Case No. 3:20-cv-00210-SLG          9


        Case 3:20-cv-00210-SLG Document 17 Filed 11/16/20 Page 9 of 16
intentional acts with a sexual motive are not within the scope of employment

of a federal law enforcement officer. D.W.J., 192 F. Supp. 3d at 1020; see also

Svacek v. Shelley, 359 P.2d 127, 130 (Alaska 1961) (“By no stretch of the

imagination can one say that [the employee], who was hired solely as a

plumber, was acting within the scope of his employment, that is, in the

accomplishment of any of the objects of his employment, when he attacked the

plaintiff with a butcher knife.”); cf. Flechsig v. United States, 991 F.2d 300, 303

(6th Cir. 1993) (applying Kentucky law and dismissing FTCA claim because,

“taking the facts as plaintiff alleges them, the sexual assault by Officer Trent

obviously is far from what he was employed to do, his apartment clearly is

outside the space limit of his employment, and it would be impossible to assert

that he was actuated in any way by the purpose of serving the Bureau of

Prisons”).

      Although the third factor is determinative of the scope-of-employment

question in this case, the other factors also weigh against finding that

Heitstuman was acting within the scope of his employment. Plaintiff alleges

Heitstuman’s assaults and subsequent harassment occurred while he was

purportedly investigating “an intoxicated woman causing a disturbance

outside the museum.” Dkt. 15 ¶ 8. Under 40 U.S.C. § 1315(b)(2), DHS officers

have limited powers that do not include authority to investigate local crimes.
Lauria v. United States Dep’t of Homeland Security, et al.
Case No. 3:20-cv-00210-SLG         10


       Case 3:20-cv-00210-SLG Document 17 Filed 11/16/20 Page 10 of 16
Even if the Court were to assume that Heitstuman may have had authority

under § 1315(b)(2)(E) to initially respond to the museum because of the

possibility of a bomb and the museum’s proximity to federal property, 3 strictly

construing the FTCA’s waiver in favor of the United States, the Court should

conclude that Heitstuman lacked authority to return to the museum later that

day, or to contact Plaintiff on subsequent days, on the pretext of continuing to

investigate the intoxicated woman. That is especially true since the police had

immediately arrested the woman and no bomb was found, as the materials

Plaintiff submitted with her claim show. Ex. A at 9. Plaintiff has failed to

plausibly allege that Heitstuman’s job authorized him to return to the museum

or harass Plaintiff in the weeks that followed on the pretense of investigating

a local crime. Cf. Delbridge v. United States, No. 12-CV-11510, 2013 WL

4417532, at *4 (E.D. Mich. Aug. 15, 2013) (dismissing FTCA claim, and holding

that an ICE agent was acting outside the scope of his employment when he

allegedly assaulted the plaintiff while purporting to investigate a robbery,

because the plaintiff’s allegations did not show that the agent was “furthering

any ICE interest by ‘investigating’ the robbery of his mother's home”).




3The Court can take judicial notice of the museum’s proximity to the federal
building across the street.
Lauria v. United States Dep’t of Homeland Security, et al.
Case No. 3:20-cv-00210-SLG         11


      Case 3:20-cv-00210-SLG Document 17 Filed 11/16/20 Page 11 of 16
       For all of these reasons, the Court should dismiss the FTCA claims based

on Heitstuman’s intentional torts.

III.   The Court does not have jurisdiction over Plaintiff’s negligence-
       based FTCA claims because she did not first present those
       negligence claims to the appropriate agency.

       The Court does not have jurisdiction over Plaintiff’s negligence claims

because she did not first present a negligence claim to DHS before bringing

this case, as required under the FTCA.

       The FTCA, 28 U.S.C. ' 2675(a), requires that a plaintiff file and exhaust

an administrative claim before filing suit against the United States:

       An action shall not be instituted upon a claim against the United
       States for money damages for injury or loss of property or personal
       injury or death caused by the negligent or wrongful act or omission
       of any employee of the Government while acting within the scope
       of his office or employment, unless the claimant shall have first
       presented the claim to the appropriate Federal agency and his
       claim shall have been finally denied by the agency in writing and
       sent by certified or registered mail.

       Here, Plaintiff filed an administrative claim with DHS. Ex. A. However,

the allegations she included in the claim relate only to Heitstuman’s

intentional acts; none of her allegations mention or even hint at negligence by

DHS. Id. Thus, Plaintiff failed to administratively exhaust her claim that DHS

was negligent. See, e.g., Gonzagowski v. United States, No. CIV 19-0206

JB\LF, 2020 WL 5209470, at *42 (D.N.M. Sept. 1, 2020) (dismissing


Lauria v. United States Dep’t of Homeland Security, et al.
Case No. 3:20-cv-00210-SLG         12


       Case 3:20-cv-00210-SLG Document 17 Filed 11/16/20 Page 12 of 16
negligence claim for lack of subject matter jurisdiction because the plaintiff’s

“administrative claim alleges assault, and makes no allegation pertaining to

the United States’ negligent hiring, supervision, and training of the security

officers involved in the assault”); Dudley v. United States, No. 4:19-CV-317-O,

2020 WL 532338, at *11 (N.D. Tex. Feb. 3, 2020) (dismissing negligence claim

for lack of subject matter jurisdiction because the plaintiff “did not reference

any prior incidents involving [the officer accused of assault], any prior

incidents involving other individuals at FMC-Carswell, and did not assert any

complaint about BOP’s hiring, supervision, training, or retention of its

employees in general or of [the officer]”); see generally Goodman v. United

States, 298 F.3d 1048, 1055 (9th Cir. 2002) (holding that, to exhaust an FTCA

claim, “the administrative claim must narrate facts from which a legally

trained reader would infer” the FTCA claim subsequently brought in court)

(quoting Murrey v. United States, 73 F.3d 1448, 1453 (7th Cir. 1996)).

      For all of these reasons, the Court should dismiss Plaintiff’s negligence-

based FTCA claims. 4

IV.   The Court does not have jurisdiction under the FTCA over an
      aided-in-agency theory of tort liability.


4 Were Plaintiff to present her negligence claims to DHS now, those claims
would be barred by the FTCA’s two-year statute of limitations. 28 U.S.C.
§ 2401(b).
Lauria v. United States Dep’t of Homeland Security, et al.
Case No. 3:20-cv-00210-SLG         13


      Case 3:20-cv-00210-SLG Document 17 Filed 11/16/20 Page 13 of 16
      As explained, the FTCA only applies to tort claims based on the conduct

of a federal employee “acting within the scope of his office or employment.”

Mendenhall, 2020 WL 5219531, at *2. By contrast, Alaska law recognizes an

aided-in-agency theory of tort liability that makes employers liable for the

tortious acts of an employee who are acting outside the scope of their

employment, when the employee “was aided in accomplishing the tort by the

existence of the agency relation.” Ayuluk v. Red Oaks Assisted Living, Inc., 201

P.3d 1183, 1198 (Alaska 2009) (quoting Restatement (Second) of Agency

§ 219(2)(d)); see also Burlington Indus., Inc. v. Ellerth, 524 U.S. 742, 758 (1998)

(noting that, under the Restatement, the aided-in-agency theory of liability can

“impose liability on employers even where employees commit torts outside the

scope of employment”). Because the aided-in-agency theory of liability only

applies when an employee is acting outside the scope of their employment, that

theory of tort liability is not available under the FTCA.

      The Fifth Circuit affirmed dismissal of a similar aided-in-agency claim

in Wright ex rel. Wright v. United States, 639 Fed. App’x 219 (5th Cir. 2016).

In that case, a supervisor with the federal Transportation Security

Administration murdered a subordinate employee with whom he was having

an affair, which had begun in the workplace. 639 Fed. App’x at 220. The

plaintiff, the decedent’s husband, sued the United States for wrongful death
Lauria v. United States Dep’t of Homeland Security, et al.
Case No. 3:20-cv-00210-SLG         14


       Case 3:20-cv-00210-SLG Document 17 Filed 11/16/20 Page 14 of 16
under the FTCA and argued in part that the United States should be liable

under an aided-in-agency theory because the murderer was allegedly aided by

his federal employment. Id. at 223. The Fifth Circuit rejected that claim,

holding that because the aided-in-agency theory only applied to acts committed

outside the scope of employment, that “ground for liability… is not available

under the provisions of the FTCA.” Id. The Court should reach the same result

here.

                                   Conclusion

        For all of these reasons, the Court should dismiss Plaintiff’s FTCA claims

against the United States.

        RESPECTFULLY SUBMITTED on November 16, 2020, at Anchorage,

Alaska.

                                             BRYAN SCHRODER
                                             United States Attorney

                                             s/ Seth M. Beausang
                                             Assistant U.S. Attorney
                                             United States of America

                                             s/ Marie C. Scheperle
                                             Assistant U.S. Attorney
                                             United States of America




Lauria v. United States Dep’t of Homeland Security, et al.
Case No. 3:20-cv-00210-SLG         15


        Case 3:20-cv-00210-SLG Document 17 Filed 11/16/20 Page 15 of 16
CERTIFICATE OF SERVICE

I hereby certify that on November 16, 2020,
a copy of the foregoing was served electronically
on:

Mera Matthews
John Cashion

s/ Seth M. Beausang




Lauria v. United States Dep’t of Homeland Security, et al.
Case No. 3:20-cv-00210-SLG         16


      Case 3:20-cv-00210-SLG Document 17 Filed 11/16/20 Page 16 of 16
